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Form NTCABUSE (09/10)
                                          United States Bankruptcy Court
                                           Western District of Michigan
                                               One Division Ave., N.
                                                     Room 200
                                              Grand Rapids, MI 49503


IN RE: Debtor (name used by the debtor in the last 8 years,
including married, maiden, trade, and address):
                                                                  Case Number 18−00452−swd
        Stacey P. Molenda
        463 Coventry Lane                                         Chapter 7
        Mason, MI 48854
        SSN: xxx−xx−3961                                          Honorable Scott W. Dales
                                                      Debtor



                  CLERK'S NOTICE PURSUANT TO 11 U.S.C. § 704(b)(1)(B)
                      OF UNITED STATES TRUSTEE'S STATEMENT
                        REGARDING PRESUMPTION OF ABUSE



The United States Trustee has reviewed all materials filed by the debtor and has determined that the
debtor's case is presumed to be an abuse under Section 707(b). Filed by U.S. Trustee Michelle M. Wilson.
(3Wilson, Michelle)




Dated: April 18, 2018
